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             IN THE UNITED STATES DISTRICT COURT FOR THE

                      WESTERN DISTRICT OF OKLAHOMA
                                                                           FILED
                                                                             APR 11 2018
UNITED STATES OF AMERICA,

                    Plaintiff,

             -vs-                                    No. CR-17-239-M


JERRY DRAKE VARNELL,                                 Violations:    18 U.S.C.§ 844(i)
                                                                    18 U.S.C.§ 2332a
                    Defendant.


                    SUPERSEDING INDICTMENT



The Federal Grand Jury charges:

                                       COUNT 1
                       (Attempted Use of an Explosive Device)

             On or about August 11, 2017, to August 12, 2017, in the Western District of

Oklahoma, the defendant,

                           JERRY DRAKE VARNELL,

maliciously attempted to damage and destroy, by means offire and an explosive, a building

and real property used in interstate and foreign commerce and in an activity affecting

interstate and foreign commerce. In particular, the defendant attempted to use explosives

to damage and destroy the BancFirst office building at 101 N. Broadway, Oklahoma City,

Oklahoma.


             All in violation of Title 18, United States Code, Section 844(i).
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                                       COUNT 2
                 (Attempted Use of a Weapon of Mass Destruction)

             On or about August 11, 2017, to August 12, 2017, in the Western Distriet of

Oklahoma, the defendant,

                            JERRY DRAKE VARNELL,

without lawful authority, did knowingly attempt to use a weapon of mass destruction,

namely, a destructive device as defined in Title 18, United States Code, Section 921, to

wit, an explosive or incendiary bomb, against any person and property within the United

States, speeiflcally, the BancFirst office building at 101 N. Broadway, Oklahoma City,

Oklahoma, and such property was used in interstate and foreign commeree and in an

activity that affects interstate and foreign eommeree, and the results of the offense would

have affeeted interstate and foreign eommeree.

              All in violation of Title 18, United States Code, Section 2332a.


                                             A TRUE BILL:




                                             FORLPLRSON OF THE GRAND JURY



ROBERT J. TROESTER
Acting United States Attorney




   CTT DILLON
        R. STONEMAN
Assistant U.S. Attorneys
